215 F.3d 37 (D.C. 2000)
    District No. 1, Pacific Coast District, Marine Engineers' Beneficial Association, Petitionerv.Maritime Administration, et al.,RespondentsBLNG, Inc., et al.,Intervenors
    No. 99-1517
    United States Court of Appeals FOR THE DISTRICT OF COLUMBIA CIRCUIT
    Argued May 17, 2000Decided June 16, 2000
    
      [Copyrighted Material Omitted]
      On Petition for Review of an Order of the Federal Maritime Administration
      Thomas L. Mills argued the cause for petitioner.  With  him on the briefs were Constantine G. Papavizas, William A.  Anderson, II and W. Patrick Morris.
      Bruce G. Forrest, Attorney, U.S. Department of Justice,  argued the cause for respondent.  With him on the brief were  David W. Ogden, Acting Assistant Attorney General, Douglas  N. Letter and Robert S. Greenspan, Attorneys, John Patrick  Wiese and John G. Salisbury, Attorneys, U.S. Department of  Transportation.  Edward Himmelfarb, Attorney, U.S. Department of Justice, entered an appearance.
      Michael Joseph argued the cause for intervenor.  With him  on the brief were E. Alex Blanton and Joseph O. Click.
      Before:  Ginsburg, Sentelle and Garland, Circuit Judges.
      Opinion for the court filed by Circuit Judge Ginsburg.
      Ginsburg, Circuit Judge:
    
    
      1
      Pursuant to  9 of the Shipping  Act, 1916, the Maritime Administration (MarAd) conditionally  granted applications to transfer the registry of eight vessels  from the United States to the Republic of the Marshall  Islands.  District No. 1, Pacific Coast District, Marine Engineers' Beneficial Association, the collective bargaining representative for the licensed officers on the vessels, along with  certain of its members (hereinafter collectively, the Union),  petitioned for review.  The Union claims that:  (1) the MarAd's decision was arbitrary and capricious;  (2) the MarAd  accepted and relied upon ex parte communications in violation  of both the Administrative Procedure Act, 5 U.S.C.  551 et  seq., and the Fifth Amendment to the Constitution of the  United States;  and (3)  9 of the Shipping Act is an unconstitutional delegation of legislative authority.  Because we lack  jurisdiction over the claims based upon the APA, we dismiss  the petition in part.  In all other respects we deny the  petition:  MEBA did not properly raise its Fifth Amendment  argument and  9 of the Shipping Act is not an unconstitutional delegation of authority.
    
    I. Background
    
      2
      Section 9 of the Shipping Act prohibits the owner of a  vessel from transferring its registry out of the United States  without the approval of the Secretary of Transportation.  See  46 U.S.C. App.  808(c)(2).  The Secretary has delegated his  authority under that section to the MarAd, 49 C.F.R.  1.66(a), which has in turn promulgated regulations implementing the approval requirement.  The regulations provide  in pertinent part:
    
    
      3
      (b) Vessels of 1,000 gross tons or more.
    
    
      4
      (1) Applications for approval of Transfer to foreign registry and flag ... of Documented Vessels or vessels the last documentation of which was under the laws of the United States and which are of 1,000 gross tons or more will be evaluated in light of(i) The type, size[,] speed, general condition, and age of the vessel;
    
    
      5
      (ii) The acceptability of the owner, proposed transferee and the country of registry ...;  and
    
    
      6
      (iii) The need to retain the vessel under U.S. documentation, ownership or control for purposes of national defense, maintenance of an adequate merchant marine, foreign policy considerations or the national interest.
    
    
      7
      46 C.F.R.  221.15(b).
    
    
      8
      BLNG applied to the MarAd for permission to transfer the  registry of eight vessels from the United States to the  Republic of the Marshall Islands.  Although not required by  statute or regulation to do so, the MarAd published in the  Federal Register notice of the applications and a call for  comments thereon.  After the announced period for the submission of comments had ended, however, the MarAd accepted additional comments from, among others, BLNG and its  attorneys.
    
    
      9
      In its decision the MarAd canvassed the arguments put  forth in the comments and determined that the following  regulatory criteria were relevant to its decision:  (1) the  general condition of the vessels;  (2) the acceptability of the  Republic of the Marshall Islands;  (3) national defense;  (4)  the maintenance of an "adequate merchant marine";  (5)  "foreign policy considerations";  and (6) other aspects of the  "national interest."
    
    
      10
      The MarAd applied these criteria as follows:  (1) The  vessels, which are used to ship liquified natural gas, are in  good working condition.  (2) The agency has previously found  the Republic of the Marshall Islands to be an acceptable  transferee.  (3) The Department of Defense, upon the MarAd's inquiry, determined that the vessels are not necessary  for national defense;  in any event, the transfer was conditioned so that the vessels could be returned to the United  States if needed in an emergency.  (4) Maintenance of an  adequate merchant marine does not require retaining the  vessels.  The Department of Energy confirmed there are no  current projects planned that would require the vessels and,  although some jobs might be lost to United States seamen  because of the transfer, BLNG has agreed for at least five  years to maintain crews composed significantly of United  States seamen on six of the eight vessels.  (5) The Department of State informed the MarAd that no foreign policy  consideration required retaining the vessels in United States  registry.  (6) The national interest did not otherwise require  retaining the vessels, primarily because the Republic of the  Marshall Islands adequately regulates safety aboard vessels  and the crew will continue to be composed mainly of United  States seamen.
    
    II. Analysis
    
      11
      As indicated above, the Union raises three objections to the  MarAd's order:  (1) It is arbitrary and capricious and therefore invalid under the APA;  (2) the MarAd's acceptance of  and reliance upon ex parte comments violated both the APA  and the Fifth Amendment;  and (3)  9 is an unconstitutional  delegation of lawmaking authority.  Before reaching the merits of those arguments, we address whether the Union has  standing to raise them.
    
    
      12
      BLNG contends that the Union lacks standing under Article III of the Constitution because it has demonstrated  neither a legally significant injury nor that the MarAd's order  is the cause of any injury the Union may have suffered. BLNG also maintains that the Union lacks prudential standing to sue under  9 of the Shipping Act because the interests  the Union is seeking to protect are not "arguably within the  zone of interests to be protected or regulated by"  9.Reytblatt v. NRC, 105 F.3d 715, 721 (D.C. Cir. 1997).
    
    
      13
      BLNG does not dispute that, as a result of the MarAd's  order, some of the Union's members among the crews will  lose their jobs and the Union will be displaced as the exclusive bargaining representative.  That is surely enough to give  the Union standing for the purposes of Article III.  In  addition, the Union's claimed interest in "maintaining and  promoting jobs in the U.S. merchant marine to service this  nation's economic and national defense needs" is arguably  within the zone of interests protected by  9.  The preamble  to the Shipping Act states as its purposes in creating the  MarAd's predecessor "encouraging, developing, and creating  a naval auxiliary and naval reserve and a merchant marine,"  39 Stat. 728 (1916), and the MarAd reasonably concluded in  its order that a meaningful merchant marine is one with "a  trained and efficient citizen personnel."  See also Meacham  Corp. v. United States, 207 F.2d 535, 542-43 (4th Cir. 1953)  (tracing legislative history of and amendments to Shipping  Act).  Indeed, the MarAd's organic statute provides that "the  United States shall have a merchant marine ... operated  under the United States flag by citizens of the United States  insofar as may be practicable."  46 U.S.C. App.  1101.  We  therefore conclude that the Union clearly has demonstrated  both the injury in fact and the causation necessary to give it  constitutional standing and that its interests are arguably  within the zone of interests protected by  9.
    
    A. Claims based upon the APA
    
      14
      The Union first contends that MarAd's order is invalid  under the APA because it is arbitrary and capricious.  See 5  U.S.C.  706(2)(A).  The MarAd responds that decisions regarding transfers of registry are "committed to agency discretion by law," 5 U.S.C.  701(a)(2), and therefore outside  the range of judicial review authorized in the APA.  If the  MarAd is correct, then this court lacks jurisdiction over the  Union's claims based upon the APA.  See, e.g., ICC v. Brotherhood of Locomotive Engineers, 482 U.S. 270, 282, 287  (1987).
    
    
      15
      The MarAd concedes that its regulations provide specific  criteria to govern its decisions regarding transfers of registry,  but contends that, as in National Federation of Federal  Employees v. United States, 905 F.2d 400 (D.C. Cir. 1990)  (NFFE), the subject matter of the agency's decision does not  admit of judicially manageable standards.  We agree.  In  NFFE, we were asked to review an APA challenge to the  closure of certain military bases.  The Secretary of Defense  had created a Commission on Base Realignment and Closure  and directed it to "identify which bases should be closed or  realigned."  Id. at 402.  The Secretary listed nine criteria  upon the basis of which the Commission was to make its  recommendations, see id., but the Commission itself decided  that, of the nine, the "military value of a base should be the  preeminent factor."  Id. at 405-06.  After the Commission  had submitted its recommendations to the Secretary, the  Congress passed the Base Closure Act directing the Secretary to implement them.  See id. at 403.
    
    
      16
      The court held that the Secretary's decisions regarding  base closures and realignments were "committed to agency  discretion by law" and hence not subject to review under the  APA.  See id. at 405.  Although the Base Closure Act incorporated the nine specific criteria that had informed the  Secretary's closure and realignment decisions, the court held  that his decisions were not reviewable because the "subject  matter of those criteria is not 'judicially manageable.' "  Id. at  405;  see Heckler v. Cheney, 470 U.S. 821, 830 (1985).  Review  of the Secretary's decisions would require "second guessing  the Secretary's assessment of the nation's military force  structure and the military value of the bases within that  structure," and courts are "ill-equipped to conduct reviews of  the nation's military policy."  Id. at 405-06.
    
    
      17
      Even a cursory examination of the order under review in  this case reveals that the primary factors driving the MarAd's  decision are national defense, the adequacy of the merchant  marine, foreign policy, and the national interest.  Indeed, the MarAd specifically consulted the Departments of State, Defense, and Energy to aid in its decision, and the overwhelming majority of the analysis in the agency's decision relates to  these factors.  Were we to decide whether the MarAd's order  is reasonable, we would necessarily be "second guessing" not  only the Executive's determinations regarding the military  value of the eight vessels but also its judgments on questions  of foreign policy and national interest.  These are not subjects fit for judicial involvement.  See, e.g., People's Mojahedin Org. v. Dep't of State, 182 F.3d 17, 23 (D.C. Cir. 1999).
    
    
      18
      The Union attempts to distinguish NFFE on the ground  that the concededly "preeminent factor" in the decision under  review in that case was the military value of the bases,  whereas in this case consideration of the national defense was  "but one factor [the MarAd] was required to consider per its  own regulations."  As we have noted, however, considerations  of national security, foreign policy, and national interest were  clearly at the center of the MarAd's decision;  the Union does  not even suggest that the other criteria listed in the regulations were given similar weight in this case.
    
    
      19
      The Union also argues that the MarAd's decision must be  subject to review for conformity with the APA because the  Hobbs Act specifically provides that the courts of appeal  have:
    
    
      20
      jurisdiction ...  to determine the validity of--
    
    
      21
      (3) all rules, regulations, or final orders of--
    
    
      22
      (A) the Secretary of Transportation issued pursuant to section 2, 9, 37, or 41 of the Shipping Act, 1916 ...
    
    
      23
      28 U.S.C.  2342(3)(A).  That the courts have statutory jurisdiction over an act of the Executive in some contexts does not  automatically imply, however, that the courts always have  jurisdiction to review that act for conformity with the APA. In ICC v. Brotherhood of Locomotive Engineers, the Supreme  Court  held, despite the grant of jurisdiction  in the Hobbs  Act  over "final orders" issued by the ICC, that the agency's order  denying reconsideration of a prior order was not subject to  review under the APA because the latter decision was "committed to agency discretion by law."  See 482 U.S. at 282.Having held that the MarAd's decision is likewise committed  to agency discretion by law, it follows that the grant of  jurisdiction in the Hobbs Act to review final orders issued  under  9 is similarly qualified.
    
    
      24
      In sum, the MarAd's decision regarding the transfer of  registry in this case is committed to its discretion by law.We therefore lack jurisdiction over the Union's claims based  upon the APA.  See Locomotive Engineers, 482 U.S. at 282,  287.  We also note, but we do not decide, that in a case where  considerations of national defense, foreign policy, and the  national interest do not play a significant role, if such there  be, we may well have jurisdiction to review the MarAd's  decision regarding a transfer of registry.
    
    B. Ex Parte Communications
    
      25
      The Union next contends that the MarAd's acceptance of  and reliance upon ex parte communications denied it "fundamental fairness" in violation of both the APA and the Fifth  Amendment.  To the extent the Union's procedural complaint  rests upon the APA, again, we lack jurisdiction to review it.
    
    
      26
      Although the APA prohibits ex parte contacts in an adjudication or rulemaking "required by statute to be made on the  record after opportunity for an agency hearing," 5 U.S.C.   553(c), see 5 U.S.C.   554(a), 557(d), there is no such  requirement applicable to the MarAd's review of an application under  9.  In the absence of such a statutory command,  of course, "[a]gencies are free to grant additional procedural  rights in the exercise of their discretion, but reviewing courts  are generally not free to impose them if the agencies have not  chosen to grant them."  Vermont Yankee Nuclear Power  Corp. v. NRDC, 435 U.S. 519, 524 (1978).  Here the agency  has not granted anyone the right to be free of ex parte  communications.  In the absence of any statutory or selfimposed limitation, we have no jurisdiction to review under  the APA an agency's procedural decision regarding how best  to make a substantive decision committed by law to the  agency's discretion.
    
    
      27
      The Union attempts to circumvent this analysis by arguing  that once the MarAd requested comments from interested  parties, it relinquished its discretion to "accept and rely upon  ex parte communications without giving the public an opportunity to respond to them."  The authorities the Union cites  as support for that claim, however, do not stand for that  broad proposition.  In each case either the governing statute  or a regulation or both required the agency to afford interested parties an opportunity to submit comments.  See Independent U.S. Tanker Owners Comm. v. Lewis, 690 F.2d 908, 923  (D.C. Cir. 1982) (regulation requiring "opportunity for comment by interested parties");  United States Lines, Inc. v.  FMC, 584 F.2d 519, 539 (D.C. Cir. 1978) ("Under the Shipping Act notice and a hearing are required prior to Commission approval of any agreement subject to Section 15");National Wildlife Fed'n v. Marsh, 568 F. Supp. 985, 992-93  (D.D.C. 1983) (statute requiring "notice and opportunity for  public hearings" and regulation requiring opportunity for  "meaningful comments").  As we have already noted, no  statute or regulation requires the MarAd to afford interested  parties the opportunity to submit comments on an application  for a transfer of registry under  9 and, in the absence of  such a requirement, whether the MarAd permits comments  and how it deals with those comments are procedural decisions that, like the underlying substantive decision, are matters within the agency's discretion.  See Vermont Yankee, 435  U.S. at 524.
    
    
      28
      To the extent the Union's objection to ex parte communications rests upon the Fifth Amendment, its argument is not  properly before the court.  In its opening brief the Union  conclusorily asserted that the MarAd accepted ex parte communications in violation of the Fifth Amendment.  The other  parties understandably did not dignify this naked assertion  with a response;  nor shall we.  See Carducci v. Regan, 714  F.2d 171, 177 (D.C. Cir. 1983) ("We ...  decline to entertain  appellant's asserted but unanalyzed constitutional claim");  see  also United States v. Watson, 171 F.3d 695, 699 n.2 (D.C. Cir.  1999) (same).  Even if the Union had developed the argument  in its reply brief beyond the vanishingly terse afterthought it  did present, out of fairness to the parties we still would not  review the Union's argument.  Cf. Sitka Sound Seafoods, Inc.  v. NLRB, 206 F.3d 1175, 1181 (D.C. Cir. 2000) ("In order to  prevent this sort of sandbagging of appellees and respondents, we have generally held that issues not raised until the  reply brief are waived").
    
    C. Delegation of Legislative Authority
    
      29
      The Union's final contention is that  9 of the Shipping Act  is an unconstitutional delegation of legislative authority to the  Executive.  Relying primarily upon our recent decision in  American Trucking Ass'ns v. EPA, 175 F.3d 1027, modified,  195 F.3d 4 (1999), cert. granted sub nom. Browner v. American Trucking Ass'ns, No. 99-1257, 2000 U.S. LEXIS 3577  (May 22, 2000), and No. 99-1426, 2000 U.S. LEXIS 3629  (May 30, 2000), the Union argues that neither the statute nor  the MarAd's regulations provide an "intelligible principle" to  guide the agency's decision making under  9.  For its part,  the MarAd contends there is an intelligible principle but, even  were there not, the constraints upon the ability of the Congress to delegate its lawmaking authority do not apply in this  case.  Because we agree with the latter point, we do not  address the former.
    
    
      30
      In United States v. Curtiss-Wright Corporation, 299 U.S.  304 (1936), the Supreme Court held that the bar against  excessive delegation of the Congress's lawmaking authority  did not apply to a Joint Resolution authorizing the President  to declare unlawful the sale of arms to certain countries if he  determined such a ban would encourage peace between them. See 299 U.S. at 312.  The Court offered two general rationales.  First, it reasoned that the "investment of the federal  government with the powers of external sovereignty did not  depend upon the affirmative grants of the Constitution," id.  at 318, and, in the realm of "external affairs," "the President  alone has the power to speak or listen as a representative of  the nation."  Id. at 319.  The Court noted especially the need  for the President to have wide discretion in order to avoid  embarrassing our relations with foreign nations.  See id. at  320.  Second, the Court traced the long historical practice supporting the delegation of broad discretion to the Executive  in external affairs.  See id. 322-326.  The legislation noted by  the Court includes:  (1) an act permitting the President to  "lay the embargo upon all ships and vessels in the ports of  the United States, including those of foreign nations," whenever he determined the public safety so required, id. at 322;(2) an act authorizing the President, "whenever an armed  vessel entering the harbors or waters within the jurisdiction  of the United States and required to depart therefrom should  fail to do so," to "forbid ... all intercourse with such vessel  ... and the officers and crew thereof" and to "prohibit all  supplies and aid from being furnished them," id. 323-24;  and  (3) numerous acts permitting the President to suspend the  duties laid upon foreign vessels if he determined that duties  laid upon ships of the United States were removed.  See id.  at 324-25 n.2.  On the basis of these two lines of reasoning,  the Court held that the "uniform, long-continued and undisputed legislative practice just disclosed rests upon an admissible view of the Constitution which, even if the practice found  far less support in principle then we think it does, we should  not feel at liberty at this late day to disturb."  Id. at 329.
    
    
      31
      The transfer of a vessel's registry from the United States  to a foreign nation involves considerations and concerns similar to those operative in Curtiss-Wright.  Little imagination  is required to envision situations in which a request to  transfer the registry of a vessel might involve delicate foreign  policy and national defense concerns.  Indeed, in the course  of granting the application in this case, the MarAd consulted  with the Departments of State, Defense, and Energy in an  effort to gauge just those types of concerns.  Furthermore,  as the Court noted in Curtiss-Wright, there is a long tradition of permitting the Executive broad discretion in the area  of international shipping;  the Union has offered no reason to  treat  9 differently.  Instead, the Union simply asserts that  "[s]ection 9 does not involve delicate negotiations with other  governments or any manner of interaction with other countries."  In fact, however, the Union itself opposed the application below on the ground that the transfer would adversely  affect the balance of trade with Japan and that the Republic of the Marshall Islands would not adequately regulate the  safety of the vessels.  In sum, because "the whole aim of  [ 9] is to affect a situation entirely external to the United  States," it is not "open to ... challenge [as] an unlawful  delegation of legislative power to the Executive."  CurtissWright, 299 U.S. at 315.
    
    III. Conclusion
    
      32
      For the foregoing reasons, the petition for review is
    
    
      33
      Dismissed in part and denied in part.
    
    